                    Case 2:16-cr-01265-AM Document 49 Filed 04/07/22 Page 1 of 3

PROB     12C
(7/93)                                                                                           i:
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                                 UNITED STATES DISTRICT COURT
                                                                                                           APR 0720??
                                                              for                                  CLERK, U.S. DISTRICT
                                                                                                                        COURT
                                                                                                  WESTERN      DISTRICT   OF TEXAS
                                                                                                      BY
                                             WESTERN DISTRICT OF TEXAS
                                                                                                                UDEPtrrV CLERK

                        Petition for Warrant or Summons for Offender Under Supervision

    Name of Offender: Jesus Javier Ornelas                                      Case Number: 2:16-CR-01265-AM(l)
    Name of Sentencing Judicial Officer: Honorable Orlando L. Garcia, Chief United States District Judge
    Date of Original Sentence: November 28, 2017
    Original Offense:     Felon in Possession of a Firearm, in violation of 18 U.S.C.    §   922(g)(1)
    Original Sentence: 36 months imprisonment followed by 3 years supervised release
    Type of Supervision: Supervised release                 Date Supervision Commenced:           September 15, 2021
    Assistant U.S. Attorney: Justin Chung        Defense Attorney:    John J. Stickney



                                                PREVIOUS COURT ACTION

On January 26, 2018, an Order removing the above-styled case from the docket of the Honorable Orlando L. Garcia, Chief
United States District Judge and transferring it back to the docket of the Honorable Alia Moses, United Stated District Judge
for further proceedings was filed.

                                                PETITIONING THE COURT
I      The issuance of a warrant
       The issuance of a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

    Violation Number         Nature of Noncompl iarice

                             Mandatory Condition: The defendant shall not commit another federal, state, or local
                             crime during the term of supervision.

                             On April 2, 2022, the offender was arrested by the Kerrville Police Department for Terroristic
                             Threat (Family Violence) and Assault Family Violence resulting from a disturbance call for
                             service.

                             According to the incident report prepared by the Kerrville Police Department, the offender's
                             girlfriend, Lyndsy Reyes, reported the offender was her boyfriend who lived with her and her
                             roommate, Bobbie Vargas, in an apartment. Reyes relayed she and the offender had been
                             dating off and on for the past seven years and had a six-year-old child together. Reyes
                             explained she and the offender were involved in a verbal disturbance and a disturbance via text
                             messaging regarding different people coming to the apartment for Vargas. Reyes stated the
                             offender believed some of these people were coming over to visit her and the offender
                     Case 2:16-cr-01265-AM Document 49 Filed 04/07/22 Page 2 of 3

Jesus Javier Ornelas
2: 16-CR-01265-AM(1)
Petition for Warrant or Summons
Page 2


                              threatened to kill her in one of the text messages. The officer observed the message which
                              stated "I'm going to kill you tonight bitch watch." Reyes stated she was in fear for her life
                              and that she wanted to pursue criminal charges against the offender.

                              The officer interviewed the offender who admitted he and Reyes had been verbally arguing
                              about people coming in and out of the apartment asking Reyes for different things. The officer
                              subsequently placed the offender under arrest for Terroristic Threat (Family Violence - Class
                              A Misdemeanor) based on the text message Reyes showed the officer.

                              Once the offender was arrested and taken away, Lyndsy Reyes admitted to a Sergeant that the
                              offender had additionally assaulted her by (pulling her to the ground by her hair, pushed,
                              shoved, struck with fist, and kicked on her body while on the ground). Reyes further stated the
                              offender also tried to stab both Lyndsy and Bobbie. The Sergeant observed visible injuries
                              from the assault on her buttocks. Subsequently, the offender was also charged with Assault
                                Family Violence (Class A Misdemeanor).

U.S. Probation Officer Recommendation:

Jesus Ornelas commenced his term of supervised release on September 15, 2021. Since then, he has been supervised by
both federal and state parole officers. In the short term he has been supervised, the offender secured employment and
enrolled in GED classes. Reportedly, the offender was residing with his stepbrother. However, the Kerrville Incident
Report reflects he was residing with his girlfriend in an apartment. At this time, it is respectfully recommended a warrant
be issued for the offender's arrest and his term of supervised release be revoked.

      The term of supervision should be
          revoked.    (Maximum penalty:    2     years imprisonment;       years supervised release;
                        and payment of any unsatisfied monetary sanction previously imposed)

      E   extended for      years, for a total term   of_ years.
      The conditions of supervision should be modified as follows:


Approved:                                                                     Respectfully submitted,


for                                                                           for
Stephen Gray                                                                  Karla Webb
Supervising U.S. Probation Officer                                            U.S. Probation Officer
Telephone: (210) 472-6590, Ext. 5331                                          Telephone: (210) 472-6590, Ext. 5329
                                                                              Date: April 7, 2022
                    Case 2:16-cr-01265-AM Document 49 Filed 04/07/22 Page 3 of 3

Jesus Javier Ornelas
2: 16-CR-01265-AM(1)
Petition for Warrant or Summons
Page 3

Approved:

      /LY
Jars T. Ward
Supervisory Assistant U.S. Attorney
City Chief, Del Rio Division

cc:       Joshua Banister
          Deputy City Chief, U.S. Attorney's Office

          Brenda Trejo-Olivarri
          Assistant Deputy Chief U.S. Probation Officer



THE COURT ORDERS:

      yecon.
       The issuance of a WARRANT            Bond is set in the amount of               cash/surety with supervision
                                                                           by the United States Probation Office to
      continue as a condition of release.
Li     The issuance of a SUMMONS.

Li     Other




                                                                                 /         Honorable Alia oses
                                                                                            U.S. District Judge


                                                                                                   Date
